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AO 458 (Rev. 06/09) Appearance of Counsel


                                      UNITED STATES DISTRICT COURT
                                                            for the
                                            Southern District
                                             __________       of New
                                                          District    York
                                                                   of __________


                   Daniel Plaut, et al.                        )
                              Plaintiff                        )
                                 v.                            )      Case No.     1:18-cv-12084
              The Goldman Sachs Group, et al.                  )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Proposed Lead Plaintiff, Nebraska Investment Council                                                         .


Date:          02/25/2019                                                            /s/ Christopher J. Keller
                                                                                         Attorney’s signature


                                                                                  Christopher J. Keller CK-2347
                                                                                     Printed name and bar number
                                                                                      Labaton Sucharow LLP
                                                                                          140 Broadway
                                                                                       New York, NY 10005

                                                                                                Address

                                                                                        ckeller@labaton.com
                                                                                            E-mail address

                                                                                          (212) 907-0700
                                                                                          Telephone number

                                                                                          (212) 818-0477
                                                                                             FAX number
